             Case 1:20-cr-00193-CMH  Document
                                  UNITED      18 DISTRICT
                                         STATES   Filed 08/27/20
                                                           COURTPage 1 of 1 PageID# 59
                                      EASTERN DISTRICT OF VIRGINIA
                                           ALEXANDRIA DIVISION
                                                                              p.
 UNITED STATES                                               JUDGE: MICHAEL S: NACHN^^FF
                                                             CASE N0.:_
                                                             HEARING:.
 ys.                                  '     "            , DATE:
                                                             REPORTER: FltR GOLD SYSTEM <:rrDLV+-
 DEFENDANT(S)                                                CLERK: CHRISTINA MARQUEZ

 COUNSEL FOR UNITED STATES:                                               ^
 COUNSEL FOR DEFENDANT:
 INTERPRETER:                                                LANGUAGE:
JX^FT APPEARED( )THROUGH COUNSEL( )FAILED TO APPEAR( )WARRANT TO BE ISSUED
      )RULE 5 ADVISEMENT                                    ( )DEFT. ADMITS( )DENIES VIOLATION
      )COURT TO APPOINT COUNSEL                             ( )COURT FINDS DEFT.IN VIOLATION
      )DEFT.TO RETAIN COUNSEL                               ( )DEFT CONTINUED ON PROBATION
      )CONTACT PREVIOUS COUNSEL & REAPPOINT
      )PRELIMINARY EXAMINATION WAIVED
      )COURT FINDS PROBABLE CAUSE
{ )GpVT NOT SEEKING DETENTION
           requests DETENTION( )GRANTED( )DENIED
X)DEFT PLACED ON PR BOND WITH CONDITIONS                    ( )DEFT CONTINUED ON BOND

 CONDITIONS OF RELEASE:
 ($         )UNSECURED($               )SECURED( )PTS( )3'^'' PARTY( )TRAVEL RESTRICTED
( )APPROVED RESIDENCE( )SATT{ )PAY COSTS( )ELECTRONIC MONITORING
( )MENTAL HEALTH TEST/TREAT( )ROL( )NOT DRIVE( )FIREAIUVI( )PASSPORT
( )AVOID CONTACT( )ALCOHOL & DRUG USE( )EMPLOYMENT

 MINUTES:


 (     ) GOVT ADDUCED EVIDENCE &                                      LegA ■pA^,^^^~rr)rs\r/x\Lu
         DEFl ADDUCED
              AUDULEU EVIDENCE
                      tVlUtlNUt,<Si Ktais (i,
                                                                                                    tSxWxbdb.
 (     ) DEFT                    & RESTS        ); EXHIBITS:
                                                   K,AniL>i i o:                                    -v-p

                                                A-o NTTg*

                                     A A -Goi- Vz>\ Mjd —                                     ^.A

 (     )GOVT. (   )DEF'r. (   ) JOINT MOTION TO CONTINUE (         ) GRANTED (     ) DENIED

 NEXT APPEARANCE:
                                                                              AT                    AM OR PM
 ( )DM( )PH( ) STATUS!             ) TRIAL ( )JURY(      ) PLEA ( ) SENT ( ) PBV ( ) SRV { ) VCR ( ) R5
  (    ) ARRAIGN!    ) IDENriTY!    ) OTHER JUDGE

  !    ) MATTER CON riNUED FOR FURTHER PROCEEDINGS BEFORE Tl IE GRAND JURY

  !    ) RELEASE ORDER GIVEN TO USMS
